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                                                                  Thursday, 21 February, 2019 01:33:34 PM
                                                                             Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

SOUTHERN ILLINOIS UNIVERSITY                   )
SCHOOL OF MEDICINE,                            )
801 N. Rutledge Street, Springfield, IL 62702, )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )     Cause No. 1:18-cv-01092-JES-JEH
                                               )
U.S. DEPARTMENT OF LABOR,                      )
R. ALEXANDER ACOSTA, in his official           )
capacity as Secretary of Labor,                )
200 Constitution Ave., N.W.                    )
Washington, D.C. 20210,                        )
                                               )
               Defendants.                     )

                  CONSENT MOTION FOR AN EXTENSION OF TIME
                      FOR THE FILING OF AMICUS BRIEFS

       COME NOW Plaintiff Southern Illinois University School of Medicine (“Plaintiff”), by

and through its undersigned counsel, and with the consent of Defendants United States Department

of Labor and R. Alexander Acosta, in his Official Capacity as Secretary of Labor (“Defendants”),

and hereby requests a thirty (30) day extension of the deadline for the filing of any amicus brief,

up to and including, Wednesday, April 3, 2019. In support of this Motion, Plaintiff states:

       1.      This is an action under the Administrative Procedure Act (“APA”) whereby

Plaintiff seeks judicial review of the Final Decision and Order handed down by the Administrative

Review Board of the Department of Labor on January 29, 2018 regarding the calculation of the

required wage of former University employee Dr. Sajida Ahad under the Immigration and

Nationality Act’s H-1B program.

       2.      As set forth in the Scheduling Order entered on October 4, 2018, any amicus briefs

in this matter must be filed by March 4, 2019.

       3.      Plaintiff requests to extend the deadline for the filing of any amicus briefs thirty
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(30) days, up to and including, Wednesday, April 3, 2019.

       4.      This request is not made for any improper purpose, and no party will suffer any

prejudice if the requested extension is granted.

       5.      Counsel for Defendants have consented to the requested extension, with the

understanding that given that Defendants’ principal brief is due on April 4 (one day after the new

proposed deadline for amicus briefs), Plaintiff would not object to allowing Defendants the

opportunity to respond to any amicus brief in their Reply brief, due on June 5, or to the submission

of any motion for leave to extend the number of pages allowed in Defendants’ Reply under Local

Rules. Plaintiff would not object to any such relief, and affirmatively requests that Defendants be

permitted to respond to any amicus briefs in their Reply brief.

       WHEREFORE, Plaintiff Southern Illinois University School of Medicine respectfully

requests a thirty (30) day extension of the deadline for the filing of any amicus brief, up to and

including Wednesday, April 3, 2019, an Order allowing Defendants an opportunity to respond to

arguments raised by any amici in their Reply brief, and providing such other and further relief as

this Court deems just and proper.

DATED: February 21, 2019                      Respectfully submitted,
                                              LEWIS RICE LLC

                                              By:      /s/ Jerina D. Phillips
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                                                    Sarah E. Mullen, 6298585
                                                    Jerina D. Phillips, #65103MO
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                                              Attorneys for Southern Illinois University
                                              School of Medicine


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                               CERTIFICATE OF SERVICE

        I hereby certify that, on February 21, 2019, a copy of the above and foregoing was served
via this Court’s electronic filing system to all counsel of record.

                                                    /s/ Jerina D. Phillips




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